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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )                Criminal No. 21-00382 (PLF)
                                    )
CHRISTOPHER WARNAGIRIS,             )
                                    )
            Defendant.              )
____________________________________)


                          MEMORANDUM OPINION AND ORDER

               Defendant Christopher Warnagiris is charged in a nine-count indictment with

offenses relating to the insurrection at the United States Capitol on January 6, 2021. See

Superseding Indictment [Dkt. No. 49]. A bench trial in this case is scheduled to begin on

April 1, 2024 at 9:30 a.m. in Courtroom 29A. See Scheduling Order [Dkt. No. 111], Order

Regarding Trial Schedule and Procedures [Dkt. No. 129]. In anticipation of trial, the defendant,

Christopher Warnagiris, has requested the release of potentially exculpatory material relating to

the victim of the alleged assault in this case, United States Capitol Police Officer Anthony

Warner.

               There has been extensive briefing on this issue and the Court heard oral argument

at the final pretrial conference on March 25, 2024. 1 Having considered all the filings, the

relevant case law, and arguments of counsel, the court denies Mr. Warnagiris’s motions.



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       The Court has reviewed the following filings: Motion for Exculpatory Evidence [Dkt.
No. 62]; United States Opposition to Defense’s Motion ECF 62 [Dkt. No. 73]; Reply to
Government’s Opposition to Defendant’s Motion for Exculpatory Evidence [Dkt. No. 75];
Supplement to Motion for Brady Materials [Dkt. No. 80]; Government’s Opposition to
Defendant’s Supplemental Motion for Brady Material [Dkt. 82]; Second Supplement to Motion
for Brady Materials [Dkt. No. 88]; Government’s Response to the Court’s Order [Dkt. No. 101];
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               Mr. Warnagiris’s primary request is for photographs, videos, and body worn

camera footage that show the principal alleged victim in this case, Officer Anthony Warner, at

any point during the events at the Capitol on January 6, 2021. Mr. Warnagiris asserts that the

government can use facial recognition technology to seek out such evidence and produce a “face-

trace list” of any individual depicted therein. See Dkt. No. 62 at 2-3.

               Following oral argument, the government filed a supplement on March 26, 2024

stating that it had “requested a search of [Officer] Warner in a FBI repository of video and

photographic evidence depicting rioters in and around the U.S. Capitol on January 6, 2021” and

specified that “this search is the same as that which is routinely employed to identify images of

suspects and defendants in the same repository.” Dkt. No. 121 at 1. The government explained

that this search did not identify any additional evidence depicting Officer Warner, and that, while

the technological search functions employed are inherently imperfect, the search was “consistent

with the defendant’s original request seeking a ‘face-trace list of public domain photos and

videos.’” Id. at 2 (quoting Dkt. No. 62 at 3). Based on these representations – and despite Mr.

Warnagiris’s protestations – the Court concludes that the government has now completed the

search requested by the defendant, and that Mr. Warnagiris’s Brady motions are moot as to this

point.

               In various filings, Mr. Warnagiris also made much broader requests for the

government to search all public and non-public sources of evidence for any other material,




Government’s Ex Parte and Under Seal Attachment A [Dkt. No. 101-1]; Defendant’s Reply to
ECF No. 101 [Dkt. No. 106]; Government’s Supplement to Defendant’s Motion [Dkt. No. 121];
Government’s Response to the Court’s March 27, 2024 Minute Order [Dkt. No. 123];
Government’s Ex Parte and Under Seal Response to the Court’s March 27, 2024 Minute Order
[Dkt. No. 125]; Defense Response to Order of the Court [Dkt. No. 126]; and Government’s
Reply to Defendant’s Response (ECF No. 126) [Dkt. No. 127].


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